     Case 2:11-cr-00075-WKW-SRW Document 107 Filed 11/09/11 Page 1 of 3




                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
       v.                                       )                     CR. NO. 2:11cr75-WKW
                                                )
ELI PERETZ, A.K.A. “ISRAEL”                     )


                 RECOMMENDATION OF THE MAGISTRATE JUDGE

       This case is before the court on defendant’s motion to dismiss (Doc. # 97). Pretrial

motions were due in this case on or before June 14, 2011, two days prior to the first pretrial

conference scheduled for June 16, 2011. Order on Arraignment at 2 (Doc. # 38) (“All pretrial

motions under Fed. R. Crim. P. 12(b) ... must be filed no later than TWO DAYS BEFORE

THE FIRST PRETRIAL CONFERENCE 1 HELD IN THIS CASE... . No motion filed

after this date will be considered unless filed with leave of court.”)(emphasis in original).

Defendant’s motion – which is brief, conclusory, and unsupported by any citation to case law

– does not establish cause for a late filing. Accordingly, the motion is due to be denied as

untimely.

       In addition, “‘[a]n indictment is considered legally sufficient if it: (1) presents the

essential elements of the charged offense, (2) notifies the accused of the charges to be

defended against, and (3) enables the accused to rely upon a judgment under the indictment




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         In this case, the first pretrial conference was continued to June 29, 2011. However, the
arraignment order provides that “A continuance of the pretrial conference or trial does not extend
the motions deadline.” Order on Arraignment at 2 (Doc. # 38).
     Case 2:11-cr-00075-WKW-SRW Document 107 Filed 11/09/11 Page 2 of 3




as a bar against double jeopardy for any subsequent prosecution for the same offense.’”

United States v. Schmitz, 634 F.3d 1247 (11th Cir. 2011)(citation omitted). Pursuant to

precedent binding on this court, “a [21 U.S.C.] Section 846 indictment is sufficient if it

alleges a conspiracy to distribute drugs, the time during which the conspiracy was operative

and the statute allegedly violated, even if it fails to allege or prove any specific overt act in

furtherance of the conspiracy.” United States v. Benefield, 874 F. 2d 1503, 1506 (11 th Cir.

1989) (citing United States v. Marable, 578 F. 2d 151, 153-54 (5th Cir. 1978.) The indictment

in the instant case meets these criteria. The charge is legally sufficient.

                                          Conclusion

       Accordingly, for the foregoing reasons, it is the RECOMMENDATION of the

Magistrate Judge that the motion to dismiss be DENIED.

        It is further

       ORDERED that the parties are DIRECTED to file any objections to the said

Recommendation on or before November 23, 2011. Any objections filed must specifically

identify the findings in the Magistrate Judge's Recommendation objected to. Frivolous,

conclusive or general objections will not be considered by the District Court. The parties are

advised that this Recommendation is not a final order of the court and, therefore, it is not

appealable.

       Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge's report shall bar the party from a de novo determination by the District



                                               2
     Case 2:11-cr-00075-WKW-SRW Document 107 Filed 11/09/11 Page 3 of 3




Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5 th Cir. 1982). See Stein

v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also Bonner v. City of

Prichard, 661 F.2d 1206 (11th Cir. 1981, en banc), adopting as binding precedent all of the

decisions of the former Fifth Circuit handed down prior to the close of business on

September 30, 1981.

       DONE, this 9th day of November, 2011.




                                    /s/ Susan Russ Walker
                                    SUSAN RUSS WALKER
                                    CHIEF UNITED STATES MAGISTRATE JUDGE




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